Case 1:16-cr-00430-CCB Document 92 Filed 02/05/18 Page 1 of 2

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

UNITED STATES OF AMERICA =

*

Vv. *
* Crim. No. MJG-16-430

MAHMOOD HUSSAIN SHAH ee

*

Defendant. *

*

KREKEK

GOVERNMENT’S OMNIBUS PRETRIAL CONFERENCE FILING

 

The United States of America, through undersigned counsel, hereby provides the
following statement regarding the Court’s proposed Voir Dire and Preliminary Instructions, as
well as the following response to the Defendant’s Request for Discovery:

I. PROPOSED VOIR DIRE AND PRELIMINARY INSTRUCTIONS

 

The Government agrees with the Court’s proposed Voir Dire Statement and Questions, or
to the Court’s Preliminary Instructions, with one exception: the Government proposes the Court
instruct the jury that the trial is expected to last five to six days, rather than three to four days.

The Government proposes one additional Voir Dire Question be added to those proposed
by the Court:

“Do any of you have any attitudes or feelings with regard to persons of other

races, religions, or ethnic backgrounds that might make it more difficult for you to
serve fairly and impartially as a juror in this case?

I. RESPONSE TO THE DEFENDANT’S DISCOVERY REQUEST

After the Defendant filed his Request for Discovery (Doc. 85), defense counsel signed a
standard discovery agreement, a copy of which is attached to this filing. See Attachment A. The
discovery agreement provides, in part, that the Government will comply with Rule 16, provide

Brady and Giglio materials if and when discovered, and will provide Jencks materials one week
